




NO. 07-04-0098-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL E



FEBRUARY 24, 2005

______________________________



THE ULLOM FAMILY PARTNERSHIP, LTD., 



Appellant



v.



CITY OF LUBBOCK, TEXAS, 



Appellee

_________________________________



FROM THE COUNTY COURT AT LAW NO. 3 &nbsp;OF LUBBOCK COUNTY;



NO. 2002-593,630; HON. PAULA LANEHART, PRESIDING

_______________________________



Memorandum Opinion

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Before QUINN and REAVIS, JJ., and BOYD, S.J.
(footnote: 1)
	This is an impairment of access case brought by the Ullom Family Partnership, Ltd. (the Partnership) against the City of Lubbock. &nbsp;The former contended that it was entitled to compensation when the latter caused the relocation of a local railroad track. &nbsp;Before the relocation of the track, the Partnership allegedly enjoyed access to the east side of a 204- acre parcel of realty that it sought to eventually develop as a residential area. &nbsp;At the time of the supposed taking, however, the acreage was undeveloped. &nbsp;The trial court concluded that the Partnership was not entitled to compensation because the “relocation of the railroad . . . did not materially or substantially impair [its] access to [its] property . . . .” &nbsp;Now pending before us are nine points of error attacking that determination. &nbsp;Each involves the legal and factual sufficiency of the evidence supporting it. &nbsp;We overrule them and affirm the judgment.

As held by our Supreme Court, whether a property owner is entitled to compensation due to damage caused by the exercise of a government’s power of eminent domain is a question of law. &nbsp;
County of Bexar v. Santikos
, 144 S.W.3d 455, 459 (Tex. 2004); 
State v. Heal
, 917 S.W.2d 6, 9 (Tex. 1996). &nbsp;Furthermore, impairing access to one’s property is compensable but only if &nbsp;the impairment is material and substantial, &nbsp;
County of Bexar v. Santikos
, 144 S.W.3d at 459, and that too is a question of law. &nbsp;
State v. Heal
, 917 S.W.2d at 9. &nbsp;Next, that a public project simply requires increased circuity of travel to one’s property does not alone rise to the level of a compensable injury. &nbsp;
County of Bexar v. Santikos
, 144 S.W.3d at 459; 
State v. Wood Oil Distr., Inc.
, 751 S.W.2d 863, 865 (Tex. 1988). &nbsp;Simply put, a governmental body need not compensate a land owner for diminishing access to his land “provided suitable access remains.” &nbsp;
State v. Heal
, 917 S.W.2d at 11.

Among the various attacks levied upon the trial court’s fact findings none were made against that stating: &nbsp;“[b]efore and after the taking, the 204.14 acre tract has access to a public road from the West via Upland Avenue which abuts the 204.14 acre tract to the West.” &nbsp;In other words, the Partnership does not dispute that it has complete access to its undeveloped property via an open, paved public road abutting the west side of the land. &nbsp;Instead, it decries the loss of access from the east. &nbsp;Yet, having complete access from the west likens the situation before us to those involving inconvenience arising from increased circuity of travel. &nbsp;Nothing but increased time and short distance physically impedes the Partnership from utilizing the property as a locale for homes in the future. &nbsp;Consequently, its circumstance is quite distinguishable from those wherein the trial court found access to be substantially and materially impaired. &nbsp;
See e.g.
 
City of Waco v. Texland Corp.
, 446 S.W.2d 1, 4 (Tex. 1969) (wherein the location of piers supporting a viaduct rendered it “‘most difficult’” for trucks to maneuver to the loading docks of warehouses and manufacturing businesses); 
City of Beaumont v. Marks
, 443 S.W.2d 253, 256 (Tex. 1969) (wherein the narrowing of the street and its turning radius impeded and prevented large trucks from approaching the warehouses in the area). &nbsp;

In sum, we hold, as a matter of law, that while the relocation of the railroad may inconvenience or interfere with those traveling to the 204-acre tract in question, it &nbsp;did not substantially or materially impair access to the land. &nbsp;Accordingly, the final order of the trial court denying the Partnership recovery against the City is affirmed.



Brian Quinn

 &nbsp;&nbsp;&nbsp;Justice













FOOTNOTES
1:John T. Boyd, Chief Justice (Ret.), Seventh Court of Appeals, sitting by assignment. &nbsp;Tex. Gov’t Code Ann. §75.002(a)(1) (Vernon Supp. 2004-05). 




